Case 4:19-cv-00717-JST   Document 513-68   Filed 12/11/24   Page 1 of 3




                (;+,%,7
8/6/2018                              It seems thatDocument
                   Case 4:19-cv-00717-JST          some confusion still exists when itFiled
                                                                   513-68              comes to12/11/24
                                                                                                understanding reba...
                                                                                                                 Page 2 of 3


                                               Search Google+



                                  Chad Conley           Public                                     Apr 29, 2014   
                         It seems that some confusion still exists when it comes to understanding
                         rebates on bail premiums. I would like to demystify the rebate debate with the
                         following outline:

                         In November 1988, voters passed Proposition 103, also known as the Insurance
                         Rate Reduction and Reform Act, in an outcry to circumvent skyrocketing
                         insurance premiums. One result of Proposition 103—it repealed certain
                         provisions of the Insurance Code that prohibited premium rebates. However,
                         Section 1851 of the Insurance Code excludes certain classes of insurance from
                         premium rebates; yet "surety" is not one of excluded classes, and bail falls under
                         the surety classi cation.

                         In 1995 the State Supreme Court ruled against an attempt to exclude surety
                         from Proposition 103 made by Amwest Surety in the case Amwest Surety Ins.
                         Co. v. Wilson. This decision precluded Amwest Surety's legislative attempts to
                         exclude surety from Proposition laws 103 as well.

                         Further, Section 2054.4 of the California Code of Regulation, which prohibits
                         rebates in connection with bail transactions, was deemed invalid by a court
                         ruling on the case Paci c Bonding Corporation v. John Garamendi, Insurance
                         Commissioner in February 2004. The ruling was based on the fact that because
                         Section 2054.4 was broader in scope than the provisions in Sections 1800
                         through 1823 of the Insurance Code (which regulate bail licensure) there was no
                         statutory basis for the regulation; and further, Section 2054.4 tracked the
                         language of certain former Insurance Code Sections that were repealed under
                         Proposition 103, which also repealed statutory basis for the regulation.

                         Basically, the impact of the above actions on the bail business boils down to the
                         fact that bail bonds are regulated under Proposition 103, which provides for
                         premium rebates as long as they are not unfairly discriminatory. Visit Chad The
                         Bail Guy for more bail bond information.
                         - See more at: http://www.chadthebailguy.com

                         part 1 http://youtu.be/0XpzRCIDN6U
                         part 2 http://youtu.be/BiJg_2Ft9e4


                                                                                              3           2             2


                         Shared publicly • View activity


     Chrome noti cations areChad   Conley this in Google+ settings.
                             off. Change                                                                          Apr
                                                                                                                               PLTF
                                                                                                                                 TURNEX 30
                                                                                                                                        ON
                                                                                                                  29,
                            Breaking it down! Fighting for the clients is what I do!                                           Fred Anschultz
https://plus.google.com/+ChadConley/posts/YMZX2ia77AL                                                                          05.29.2024 1/2
8/6/2018                              It seems thatDocument
                   Case 4:19-cv-00717-JST          some confusion still exists when itFiled
                                                                   513-68              comes to12/11/24
                                                                                                understanding reba...
                                                                                                                 Page 3 of 3
                                                                                                                 2014
                                   REPLY       
                                       
                                   Ryan Mullinax +1                                                               Apr
                                   Great information Chad!!!                                                      29,
                                                                                                                 2014
                                   REPLY       

                                   Chad Conley                                                                    Apr
                                   Trust me after the good ol boys club came after my license for                 29,
                                                                                                                 2014
                                   trying to save clients money I was forced to study this! Most
                                   people know they can do it but don't know why. The other don't
                                   want you to know! They prefer price xing and would prefer to
                                   have it back to only one rate of 10% period.
                                   REPLY       


                                   Add a comment...




     Chrome noti cations are off. Change this in Google+ settings.                                                             TURN ON

https://plus.google.com/+ChadConley/posts/YMZX2ia77AL                                                                                    2/2
